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                     IN THE UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF ILLINOIS

                               EASTERN DIVISION

          JACQUES RIVERA,                      )

                     Plaintiff,                )

               vs.                             ) No. 12 CV 4428

          REYNALDO GUEVARA, ET AL.,            )

                     Defendants.               )



                     The deposition of DANIEL R. NOON,

          called for examination pursuant to the Rules of

          Civil Procedure for the United States District

          Courts pertaining to the taking of depositions,

          taken before Frances S. Lucente, Certified

          Shorthand Reporter of the State of Illinois, at

          750 North Lake Shore Drive, Chicago, Illinois,

          on February 13, 2014, at the hour of

          10:07 o'clock a.m.




          Reported by:      Frances S. Lucente, CSR

          License No.:      084-004005
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     1         Q.    You can describe --

     2         A.    You do an activity report after your tour

     3    of duty to show what you did out there for eight

     4    hours.    We called it a humper.        The department

     5    called it an activity report for the night.              If you

     6    did something like that, you should indicate in

     7    your humper that you, in fact, did some type of a

     8    photo thing.      I don't remember me doing it -- very

     9    seldom -- hardly ever.        In fact, I don't remember

   10     the last time I did it.

   11          Q.    A hump report?

   12          A.    No, did a photo thing, a photo spread --

   13     years and years ago.

   14          Q.    So if you had an identification through a

   15     photo spread, you would write it in a hump report

   16     to be relayed to the next shift?

   17          A.    Uh-huh -- I should.

   18          Q.    But there would be no indication of the

   19     photo that was chosen on the actual photo spread

   20     that you put in the inventory box?

   21          MS. GOLDEN:     Object to foundation.

   22          THE WITNESS:      To my recollection, you would

   23     indicate the identification made on the humper --

   24     picked out picture of Mr. X.          I don't recall making
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     1    BY MS. VAN BRUNT:

     2         Q.    If somebody made an identification of a

     3    suspect, what would you do then?

     4         MS. GOLDEN:     Object to foundation.

     5         THE WITNESS:      Indicate that an ID was made out

     6    of a photo book.

     7    BY MS. VAN BRUNT:

     8         Q.    On the actual photo book you would make

     9    an --

   10          A.    No.

   11          Q.    Sorry.    I'm confused.      How would you

   12     indicate that?

   13          A.    You'd indicate it in your humper at the

   14     end of the night that a tentative ID was made in

   15     Photo Book 14, Picture Number So-And-So.

   16          Q.    So in the hump report you would say this

   17     witness picked out this individual in the gang

   18     book, identified by the picture number; is that

   19     right?

   20          A.    Normally, yes.

   21          Q.    What would happen to the actual photo?

   22     Would it be inventoried in any way?

   23          A.    You didn't take the book apart, no.            It

   24     would stay in the book.
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     1         Q.    Would you make a photocopy of that page

     2    where the witness was?

     3         A.    Depending, you could.

     4         Q.    Would you make a photocopy of the page

     5    that contained the photo that the witness had

     6    identified?

     7         A.    You could if you wanted to.

     8         Q.    Did you do that as a regular matter?

     9         A.    I don't recall if I did or didn't in every

   10     case.

   11          Q.    Did you do it sometimes?

   12          A.    I don't remember completely if I did or

   13     did not.

   14          Q.    If you did do so, what would happen --

   15          A.    I know I would indicate the book and the

   16     photo number in my humper.         As to do I recall

   17     making a photocopy -- I don't recall that.

   18          Q.    If you did make such a photocopy, what

   19     would you do with it?

   20          MS. GOLDEN:     Object to foundation.

   21          THE WITNESS:      I don't really remember making

   22     photocopies of the book.

   23     BY MS. VAN BRUNT:

   24          Q.    So that's not likely something you did?
                                                                        112

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     1          Q.   And what was the third type of report you

     2    mentioned?

     3          A.   Well, the humper, the synoptic -- that's

     4    it.

     5          Q.   Department report did you say?

     6          A.   No, I meant the humper.         I confused you.

     7    Excuse me.

     8          Q.   What would happen to the hump reports

     9    after you finished filling them out for one shift?

   10           MS. GOLDEN:    I object to form.

   11           MS. BENJAMIN:     Object to foundation.

   12           THE WITNESS:     At the end of your tour of duty,

   13     you'd fill it out and give it to your sergeant.

   14     BY MS. VAN BRUNT:

   15           Q.   And what would the sergeant do with it?

   16           MS. GOLDEN:    Object to foundation.

   17           THE WITNESS:     Admin -- you have to ask them.

   18     BY MS. VAN BRUNT:

   19           Q.   He would give it to admin, is that what

   20     you're saying?

   21           A.   I don't know what he would do with it.

   22     I'd give it to my sergeant.

   23           Q.   And the purpose of it was for use by the

   24     next shift to see what had been done in the
                                                                        127

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     1    investigation, is that right?

     2         MS. VAN BRUNT:      I object to form.

     3         THE WITNESS:      The humper?

     4         MS. VAN BRUNT:      Yes.

     5         MS. BENJAMIN:      Object to form.

     6         THE WITNESS:      The humper was to show what you

     7    did for eight hours out there.

     8    BY MS. VAN BRUNT:

     9         Q.    What was the purpose of it?

   10          MS. BENJAMIN:      Objection, foundation.

   11          THE WITNESS:      As testified to, your activities

   12     for the last eight hours on the street.

   13     BY MS. VAN BRUNT:

   14          Q.    Would the sergeant then review your

   15     activities?

   16          MS. GOLDEN:     Object to foundation.

   17          THE WITNESS:      Whatever he did as a supervisor.

   18     I wasn't a supervisor.        I don't know what they do.

   19     BY MS. VAN BRUNT:

   20          Q.    But you would make a humper for every

   21     single shift?

   22          A.    Yes, ma'am.

   23          Q.    Did you make humpers while you were at the

   24     14th District as well?
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     1    investigation, yes, normally.

     2         Q.    So the Detective Division could access

     3    those notes about the witness interview if they

     4    came down and looked at your hump form?

     5         A.    If they wanted to, yes.

     6         Q.    Okay, but they didn't have to?

     7         A.    I don't know what they did or didn't have

     8    to do.

     9         Q.    But you didn't provide that form directly

   10     to them as a regular practice?

   11          A.    Not that I know of.

   12          Q.    Were there RD numbers on the hump reports?

   13          A.    On the humper report itself, the RD would

   14     be included in the case that you were working on,

   15     that's correct.      That doesn't have an RD number

   16     per se on the piece of paper.

   17          Q.    I'm confused.      What does that mean?

   18          A.    Like a case report has got an RD number --

   19     every case.

   20          Q.    Right.

   21          A.    A humper is not a case report.           A humper

   22     is just an activity report.          There's no number

   23     assigned to that particular document.            It's like

   24     this piece of paper with what you did for eight
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     1    hours.    There's no number assigned.

     2         Q.    Well, how would you identify what case it

     3    was related to?

     4         A.    You'd indicate the RD number of the case

     5    you were investigating and talking about.

     6         Q.    On the form, okay.        I think I understand

     7    you, but is it just a form with a bunch of lines on

     8    it that you write whatever you want in it?

     9         MS. GOLDEN:     Object to form.

   10          THE WITNESS:      The appearance sounds like what

   11     you just said -- a form with lines on it, and you'd

   12     fill out the blanks.

   13     BY MS. VAN BRUNT:

   14          Q.    Were there different sections of the

   15     report?

   16          A.    Other than the top being who you are, your

   17     beat number, car number and the date, then there's

   18     a narrative portion which just has lines that you

   19     fill in.    Then you sign the bottom, and your

   20     sergeant signs the bottom.

   21          Q.    So it just says narrative and that's it?

   22          A.    Yes, ma'am.

   23          Q.    I think you said this, but did you receive

   24     any training in regards to note-taking?
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     1    the Detective Division as well?

     2         MS. GOLDEN:     Object to form, foundation.

     3         THE WITNESS:      Sometimes detectives would send

     4    us a copy if they were closing stuff, not always.

     5    Sometimes you had to go get it, depending on the

     6    case.

     7    BY MS. VAN BRUNT:

     8         Q.    So in this instance, we've already

     9    established that McLaughlin and Leonard authored

   10     this Sup Report, Exhibit 3; is that right?

   11          MS. GOLDEN:     Object to form.

   12          THE WITNESS:      I particularly don't remember how

   13     we would have gotten their report.

   14     BY MS. VAN BRUNT:

   15          Q.    Okay.    But would you have gotten this

   16     report?

   17          MS. GOLDEN:     Object to form.

   18          THE WITNESS:      Normally, you would like to have

   19     it in the files.

   20     BY MS. VAN BRUNT:

   21          Q.    Would it be combined with the General

   22     Offense Report?

   23          A.    I believe so.

   24          Q.    And where would that file be kept?
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     1         A.     In the admin office.

     2         Q.     In the same area where the hump reports

     3    were kept?

     4         A.     That's correct.

     5         Q.     Would you ever take that file out and

     6    bring it with you while you were conducting an

     7    investigation?

     8         A.     I can't speak for other people.           Myself,

     9    personally?

    10         Q.     Yes.

    11         A.     If I thought it would do me any good -- I

    12    don't know.

    13         Q.     For reference purposes, for instance?

    14         A.     Depending on the case, if I thought I

    15    could use something off of it.

    16         Q.     And then what would you do with it when

    17    you were done with it at the end of --

    18         MS. GOLDEN:      Object to form and foundation.

    19         THE WITNESS:      Back to the files.

    20    BY MS. VAN BRUNT:

    21         Q.     Back to the file room in the admin

    22    section?

    23         A.     That's correct.

    24         Q.     If you were doing an investigation and
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